                    IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                              WESTERN DIVISION
                               No. 5:17-cv-00443

TRAVELERS PROPERTY CASUALTY            )
COMPANY OF AMERICA,                    )
                                       )
                         Plaintiff,    )
                                       )
      v.                               )        COMPLAINT
                                       )
GREYSTONE WW COMPANY, LLC,             )
                                       )
                        Defendant.     )
____________________________________________________________________________


       NOW COMES Plaintiff, Travelers Property Casualty Company of America

(“Travelers”), by and through its attorneys, and for its Complaint against Defendant, Greystone

WW Company, LLC (“Greystone”), alleges as follows:

                                 NATURE OF THE ACTION

       1.      This is an action for declaratory relief pursuant to 28 U.S.C. § 2201 which arises

out of an existing and actual controversy between the parties concerning the parties’ rights and

obligations under an Apartment Pac custom insurance policy issued by Travelers to Greystone,

policy number 680-1F531365-14-42, with an effective policy period from October 20, 2014 to

October 20, 2015 (“the Policy”). A certified copy of the policy is attached as Exhibit A.

                                        THE PARTIES

       2.      Travelers is incorporated under the laws of the State of Connecticut with its

principal place of business in Hartford, Connecticut and is therefore a citizen of the State of

Connecticut.

       3.      Greystone is a registered North Carolina limited liability company with its

principal place of business in Chevy Chase, Maryland.


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        4.       Robert J. Gage is a managing member of Greystone. Mr. Gage is a citizen of the

State of Maryland.

        5.       David E. Kaplan is a member of Greystone. Mr. Kaplan is a citizen of the District

of Columbia.

        6.       Greystone Investment Company, LLC is a member of Greystone.

        7.       Greystone Investment Company, LLC is a registered North Carolina limited

liability company with its principal place of business in Chevy Chase, Maryland.

        8.       RJG Discretionary GST Trust, RJG Non-Marital Spousal Trust FBO Charles J

Gage, RJG Non-Marital Spousal Trust FBO Rachel E Gage are all members of Greystone

Investment Company, LLC and all are citizens of the State of Maryland.

        9.       Greystone is therefore a citizen of the State of Maryland and the District of

Columbia.

                                          JURISDICTION

        10.      This Court possesses original jurisdiction of this civil action based upon diversity

of citizenship pursuant to 28 U.S.C. § 1332. The matter in controversy exceeds $75,000.00,

exclusive of interest and cost, and is between citizens of different states.

                                              VENUE

        11.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391 in that a substantial

part of the events or omissions giving rise to this action occurred in this judicial district. In

addition a substantial part of property that is the subject of the action is situated in Wake County

which is situated in this judicial district (28 USC § 113(a)). Further, Greystone does business in

this judicial district.




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                                    FACTUAL BACKGROUND

       12.        The insured location under the Policy is a 13-building apartment complex in

Knightdale, North Carolina known as Greystone at Widewaters.

       13.        The apartment complex was constructed in 2006.

       14.        Each apartment building has multiple roof-covered balcony stacks consisting of

two or three balconies and a ground floor patio.

       15.        In total, there are 104 three- or four-story balcony stacks consisting of 104 ground

floor patios and 224 balconies.

       16.        During the original construction of the apartment complex in 2006, the wrong

flexible flashing was used in the construction of the balconies in violation of the project

specifications.

       17.        In addition, during the original construction of the apartment complex in 2006,

metal flashing was used in the construction of the balconies in violation of the project details.

       18.        Further, during the original construction of the apartment complex in 2006, the

flexible flashing and the metal flashing were installed in the balconies improperly.

       19.        As a result of faulty/inadequate workmanship, faulty/inadequate construction and

use of faulty/inadequate materials during the original construction, the balcony decks and

adjacent building components have experienced long-term wet rot, deterioration, decay, mold

and mildew.

       20.        The wet rot, deterioration, decay, mold and mildew commenced following

completion of the initial defective construction in 2006 and, upon information and belief,

continue to this day.

       21.        Greystone claims that it first discovered wet rot, deterioration, decay, mold and

mildew damage on September 3, 2015.


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       22.     On October 15, 2015, Greystone notified its insurance agent of a potential

insurance claim, but neither Greystone nor its agent provided notice of loss to Travelers at that

time because Greystone’s agent had advised Greystone that the loss was not covered.

       23.     On October 15, 2015, Greystone also put its general contractor, C.F. Evans &

Company, and its architect, Lessard Design, Inc., on notice of “a latent defect in which water has

infiltrated and caused damage to the interior of the soffit and bulkhead of certain of our

apartments.”

       24.     On September 20, 2016, nearly a year after the subject policy expired on October

20, 2015, Travelers received notice of a claim for “water penetration in the interior of a soffit and

bulkhead on the upper exterior walls of some [of] the balconies.” The date of loss was reported

as October 15, 2015 which coincides with the date when Greystone first notified its insurance

agent of a potential claim.

       25.     Travelers issued insurance policy, number 680-1F531365-14-42, to Greystone

with an effective policy period from October 20, 2014 to October 20, 2015 (“Policy”).

       26.     The Policy provides, in relevant part, as follows:

                BUSINESSOWNERS PROPERTY COVERAGE SPECIAL FORM
                                                ***
       B.      EXCLUSIONS
                                                ***
               1.   We will not pay for loss or damage caused directly or indirectly by any of
                    the following. Such loss or damage is excluded regardless of any other
                    cause or event that contributes concurrently or in any sequence to the loss.
                    These exclusions apply whether or not the loss event results in widespread
                    damage or affects a substantial area.
                                                ***
               2.   We will not pay for loss or damage caused by or resulting from any of the
                    following:
                                                ***
                    d.      (1)    Wear and tear;




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                      (2)   Rust, corrosion, fungus, decay, deterioration, wet or dry rot,
                            mold, hidden or latent defect or any quality in property that
                            causes it to damage or destroy itself;
                                           ***
                    But if an excluded cause of loss that is listed in Paragraphs (1)
                    through (8) above results in a “specified cause of loss”, building
                    glass breakage or “breakdown” to “covered equipment” (only if
                    otherwise a Covered Cause of Loss), we will pay for the loss or
                    damage caused by that “specified cause of loss”, building glass
                    breakage or “breakdown” to “covered equipment” (only if
                    otherwise a Covered Cause of Loss).
                                           ***
       3.  We will not pay for loss or damage caused by or resulting from any of the
           following under Paragraphs a. through c. But if an excluded cause of loss
           that is listed in Paragraphs a. and b. below results in a Covered Cause of
           Loss, we will pay for the resulting loss or damage caused by that Covered
           Cause of Loss.
                                           ***
           c.       Faulty, inadequate or defective:
                    (1)     Planning, zoning, development, surveying, siting;
                    (2)     Design, specifications, workmanship, repair, construction,
                            renovation, remodeling, grading, compaction;
                    (3)     Materials used in repair, construction, renovation or
                            remodeling; or
                    (4)     Maintenance;
                    of part or all of any property on or off the described premises.
                    If an excluded cause of loss that is listed in Paragraphs (1) through
                    (4) above results in a Covered Cause of Loss, we will pay for the
                    resulting loss or damage caused by that Covered Cause of Loss.
                    But we will not pay for:
                            (1)      Any cost of correcting or making good the fault,
                                     inadequacy or defect itself, including any cost
                                     incurred to tear down, tear out, repair or replace any
                                     part of any property to correct the fault, inadequacy
                                     or defect; or
                            (2)      Any resulting loss or damage by a Covered Cause
                                     of Loss to the property that has the fault,
                                     inadequacy or defect until the fault, inadequacy or
                                     defect is corrected.
                                           ***
F.     COMMERCIAL PROPERTY CONDITIONS
                                           ***
       8.  Policy Period, Coverage Territory
           Under this Coverage Form:
           a.       We cover loss or damage you sustain through acts committed or
                    events occurring:



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                              (1)
                                During the policy period shown in the Declarations; and
                                              ***
        FUNGUS, WET ROT, DRY ROT AND OTHER CAUSES OF LOSS CHANGES
                                              ***
       B.  The EXCLUSIONS contained in Section B. of the BUSINESSOWNERS
           PROPERTY COVERAGE FORM are amended as follows:
           1.    The following exclusion is added to B.1.:
                 “Fungus”, Wet Rot or Dry Rot
                 a.     We will not pay for loss or damage, or any increase in the amount
                        of loss or damage, caused directly or indirectly by or resulting
                        from the presence, growth, proliferation, spread or any activity of
                        “fungus”, wet rot or dry rot.
                        But if “fungus”, wet rot or dry rot results in a “specified cause of
                        loss”, we will pay for loss or damage caused by that “specified
                        cause of loss”.
                        This exclusion does not apply:
                        (1)     When “fungus”, wet rot or dry rot results from fire or
                                lightning; or
                        (2)     To the extent that coverage is provided in the Additional
                                Coverage – Limited “Fungus”, Wet Rot or Dry Rot in
                                Section C.1. below of this endorsement with respect to loss
                                or damage by a cause of loss other than fire or lightning.
                                              ***

       27.     On February 3, 2017, Travelers denied Greystone’s claim based on the “faulty

workmanship”, fungus, wet rot, decay and deterioration exclusions and because the claimed loss

occurred over a long period of time since the completion of the initial construction and not

during the policy period. In addition, Greystone had failed to give timely notice of the loss.

       28.     On April 24, 2017, Greystone’s public adjuster expressed his disagreement with

Travelers’ denial and requested that Travelers re-evaluate its coverage position.

       29.     On August 3, 2017, Travelers responded to Greystone’s public adjuster,

reaffirming the denial of coverage, and further explaining that the claim was not covered

because: (1) the claimed loss did not occur during the policy period; (2) the exclusions for

fungus, wet rot, decay and deterioration preclude coverage for the claimed loss; (3) the “resulting

loss” exception to the “faulty workmanship” exclusion does not apply because there is no




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“resulting loss”; and (4) the claimed “resulting loss” is itself barred by the exclusions for fungus,

wet rot, decay and deterioration.

                                              COUNT I

                                DECLARATORY JUDGMENT

       30.      Travelers restates and realleges Paragraphs 1 – 29 as Paragraph 30 as if fully set

forth herein.

       31.      There is no coverage because the claimed losses did not occur during the

Travelers policy period.

       32.      In the alternative, the “faulty workmanship” exclusion bars coverage for all “loss

or damage caused by or resulting from … [f]aulty, inadequate or defective … workmanship …

construction, [or] [m]aterials used in repair, construction, renovation or remodeling ….”

       33.      The “resulting loss” exception to the “faulty workmanship” exclusion does not

apply because there is no “resulting loss”.

       34.      The claimed “resulting loss” is itself barred by the exclusions for fungus, wet rot,

decay and deterioration.

       35.      In addition, the Policy exclusion for fungus and wet rot precludes coverage for all

loss or damage caused directly or indirectly or resulting from fungus and wet rot “regardless of

any other cause or event that contributes concurrently or in any sequence to the loss.”

       36.      An existing and actual controversy exists between Travelers and Greystone

concerning the parties’ rights and obligations with regard to the Policy.

       WHEREFORE, Plaintiff, Travelers Property Casualty Company of America, prays that

judgment be entered in its favor and against Defendant, Greystone WW Company, LLC,

declaring:

       a)       That there is no coverage for Greystone’s claim;


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b)     That there is no coverage because the losses did not occur during the Travelers

       policy period;

c)     Alternatively, there is no coverage because the “faulty workmanship” exclusion

       bars coverage for all “loss or damage caused by or resulting from … [f]aulty,

       inadequate or defective … workmanship … construction, [or] [m]aterials used in

       repair, construction, renovation or remodeling …”;

d)     The “resulting loss” exception to the “faulty workmanship” exclusion does not

       apply because there is no “resulting loss”;

e)     The claimed “resulting loss” is itself barred by the exclusions for fungus, wet rot,

       decay and deterioration;

f)     The exclusion for fungus and wet rot precludes coverage for all loss or damage

       caused directly or indirectly or resulting from fungus and wet rot; and

g)     That the Court grant such other, further and different relief as the Court deems

       equitable and proper.




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Respectfully submitted, this the 31st day of August, 2017.


                                      /s/ James A. Dean
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